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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                 NORTHERN DIVISION

CHRISTINA HAGAN,                               )
                                               )
              Plaintiff,                       )
                                               )
       v.                                      )           No. 2:20-CV-48 NAB
                                               )
CITY OF HANNIBAL, MISSOURI, et al.,            )
                                               )
              Defendants.                      )

                            ORDER OF PARTIAL DISMISSAL

       Upon the filing of Plaintiff’s Notice of Voluntary Dismissal directed to Defendant City of

Hannibal, Missouri, on November 3, 2020,

       IT IS HEREBY ORDERED that pursuant to Fed. R. Civ. P. 41(a)(1)(A), Defendant City

of Hannibal, Missouri is DISMISSED without prejudice from this action.

       IT IS FURTHER ORDERED that Defendant City of Hannibal’s Motion to Dismiss is

DENIED as moot. [Doc. 10.]




                                                NANNETTE A. BAKER
                                                UNITED STATES MAGISTRATE JUDGE

Dated this 6th day of November, 2020.
